     Case 2:21-cr-00127-MCS    Document 247 Filed 01/23/25     Page 1 of 6 Page ID
                                       #:4604


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9    UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               No. 2:21-cr-00127-MCS
13
              Plaintiff,                     GOVERNMENT’S OPPOSITION TO
14                                           DEFENDANT’S EX PARTE APPLICATION
                    v.                       FOR AN ORDER FOR BOND PENDING
15                                           APPEAL
     DOUGLAS J. CHRISMAS,
16
              Defendant.
17

18        Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California and Assistant United States Attorney Valerie L. Makarewicz
21   hereby files its opposition to defendant’s ex parte application for
22   an order for bond pending appeal, (Dkt. 246).
23        This Court’s Standing Order sets forth the applicable standards
24   and rules for ex parte applications.        The first two sentences of the
25   ex parte section provide that “Ex Parte applications are solely for
26   extraordinary relief and are rarely granted.            Mission Power Eng’g Co.
27   v. Cont’l Cas. Co., 883 F. Supp. 488 (C.D. Cal. 1995).)”
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     Case 2:21-cr-00127-MCS    Document 247 Filed 01/23/25   Page 2 of 6 Page ID
                                       #:4605


1         The Mission Power Eng’g Co. decision cited in the Order further

2    explains the appropriate circumstances for seeking ex parte relief.

3    “Ex parte motions are rarely justified.”        Mission Power Engineering

4    Co. v, 883 F. Supp. at 490.      “[F]iling an ex parte motion . . . is

5    the forensic equivalent of standing in a crowded theater and

6    shouting, “Fire!”   There had better be a fire.”        Id. at 492.

7         “[T]o justify ex parte relief . . . the evidence must show that

8    the moving party’s cause will be irreparably prejudiced if the

9    underlying motion is heard according to regular noticed motion
10   procedures” and “it must be established that the moving party is
11   without fault in creating the crisis that requires ex parte relief,
12   or that the crisis occurred as a result of excusable neglect.”            Id.

13   Motions to change the hearing date for a motion “do[] not establish

14   that plaintiff will be irreparably prejudiced.”         Id. at 493.

15        The Order also sets forth specific requirements under the Local

16   Rules of the Court.      “Ex parte applications that fail to conform to

17   Local Rule 7-19...will not be considered, except on a specific

18   showing of good cause.”      Relevant to defendant’s ex parte

19   application, Local Rule 7-19 requires an application for an ex parte

20   order shall be accompanied by a memorandum containing, if known, the

21   name, address, telephone number and e-mail address of counsel for the

22   opposing party. Local Rule 7-19.1 states, in part, “[I]t shall be the

23   duty of the attorney so applying (a) to make reasonable, good faith

24   efforts orally to advise counsel for all other parties, if known, of

25   the date and substance of the proposed ex parte application...”

26        On January 21, 2025, defense counsel contacted the undersigned

27   regarding defendant’s plans to file a motion for bond pending appeal.

28   Attached herein and marked Exhibit 1 is a copy of the email

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     Case 2:21-cr-00127-MCS   Document 247 Filed 01/23/25   Page 3 of 6 Page ID
                                      #:4606


1    communication that occurred between counsel on January 21, 2025.             In

2    this communication, counsel does not state the date they anticipated

3    filing the ex parte application, nor the substance of the

4    application. This is the first communication between the parties

5    since defendant’s sentencing on January 13, 2025.

6         On January 22, 2025, at 5:03 p.m. and after working hours,

7    defendant filed his ex parte application for an order for bond

8    pending appeal. (Dkt. 246.)     The ex parte application does not state

9    the name, address, telephone number and email address of counsel for
10   the opposing party. Id. In a single sentence, defendant argued that
11   ex parte treatment was warranted “to allow enough time between the

12   Court’s ruling on this request (and any appeal to the Ninth Circuit

13   appeal on the bond issue), and to ensure Mr. Chrismas is not

14   irreparably harmed by having to surrender to custody while this bond

15   issue is outstanding...” Id. at 2:9-12.

16        Defendant’s application does not comply with the Order or this

17   Court’s local rules substantive or procedural requirements for ex

18   parte relief.   Defendant has not established the existence of an

19   emergency situation that would cause irreparable prejudice to his

20   cause should his motion be heard on a regular schedule.

21        Defendant alleges that he would be irreparably harmed by having

22   to report during his appeal. Detention is mandatory upon conviction

23   and a sentence of imprisonment. 18 U.S.C. § 3143(b)(1). “Once a

24   person has been convicted and sentenced to jail, there is absolutely

25   no reason for the law to favor release pending appeal or even permit

26   it in the absence of exceptional circumstances.” H. Rep. No. 907,

27   91st Cong., 2d Sess. 186–87 (1970) (regarding model for 18 U.S.C. §

28   3143); see United States v. Miller, 753 F.2d 19, 22 (3d Cir. 1985)

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     Case 2:21-cr-00127-MCS   Document 247 Filed 01/23/25   Page 4 of 6 Page ID
                                      #:4607


1    (Congress enacted § 3143 “to reverse the presumption in favor of

2    bail”); United States v. Handy, 761 F.2d 1279, 1283 (9th Cir. 1985)

3    (adopting Miller’s reasoning). It is not irreparable injury for a

4    convicted felon to begin serving his sentence while waiting appeal of

5    the underlying conviction.

6         To the extent that defendant felt constricted by the upcoming

7    deadline to report to BOP custody, defendant had several instances to

8    address this issue with the Court. Since being convicted in May,

9    defendant had seven months to prepare his motion for bond pending
10   appeal. At sentencing, defense counsel stated defendant was prepared
11   to file an appeal, and when discussing defendant’s report date, could
12   have made a point to request the Court extend defendant’s report date
13   at that time. Then, defendant filed his ex parte application a week
14   after his notice of appeal. Counsel’s exercise of diligence to

15   prepare the ex parte application no earlier than January 22, 2025

16   does not create an emergency situation that calls for ex parte

17   relief, rather defendant’s “emergency” is one of his own creation.

18   Instead, defendant demanded to be first in line for a decision for

19   bond pending appeal, adding to the Court’s docket for his emergency

20   when none is apparent. Because defendant deliberately misused the ex

21   parte process and failed to show good cause to shorten the hearing

22   time, his request should be denied.

23        Defendant’s application should be heard on a normal motion

24   schedule, which allows time for the government to thoroughly review,

25   respond, and advise the Court appropriately. Defendant’s substantial

26   questions raised in the ex parte application are lengthy and

27   substantive -- while somewhat familiar to the parties, defendant’s

28   substantial questions raised are not the same as defendant’s previous

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     Case 2:21-cr-00127-MCS   Document 247 Filed 01/23/25   Page 5 of 6 Page ID
                                      #:4608


1    assertions regarding constructive amendment and expert witness

2    notice. Defendant raises an issue regarding the Court’s determination

3    of loss at sentencing.     Requiring the government to respond within 24

4    hours is unfair and leads to rushed positions and advice to the

5    Court, and thereafter, as defendant previewed, the Circuit Court, in

6    a manner that is not as thorough as one under the normal motion

7    filing deadlines. Being forced to respond within a 24-hour period is

8    a significant disadvantage to the government. At no point in defense

9    counsel’s email informing the government of defendant counsel’s
10   intention to file an ex parte application did counsel state the
11   substantial questions he intended to raise or even the date upon

12   which the application would be filed.

13        Nor did defendant comply with the Court’s Order or the Local

14   Rules requirements for ex parte applications. These substantive and

15   procedural deficiencies warrant denial of defendant’s request for ex

16   parte treatment.

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     Case 2:21-cr-00127-MCS   Document 247 Filed 01/23/25   Page 6 of 6 Page ID
                                      #:4609


1         The government asks that the Court allow the government the

2    opportunity to respond to defendant’s application in the normal

3    course because there is no reason to hear this request ex parte.

4    Defendant’s ex parte application should be denied with the Court

5    allowing for defendant’s application to be heard on a regular 28-day

6    hearing schedule pursuant to Fed. R. Civ. P. 6 and 7 and Local Rule

7    (Civil) 6, 7-9, and 7-10.

8    Dated: January 23, 2025             Respectfully submitted,

9                                        JOSEPH T. MCNALLY
                                         Acting United States Attorney
10
                                         LINDSEY GREER DOTSON
11                                       Assistant United States Attorney
                                         Chief, Criminal Division
12
                                             /s/
13
                                         VALERIE L. MAKAREWICZ
14                                       Assistant United States Attorneys

15                                       Attorney for Plaintiff
                                         UNITED STATES OF AMERICA
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